

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


						




NO. PD-0690-12




		

AUSTIN CHASE CARRASCO, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE SEVENTH COURT OF APPEALS


RANDALL COUNTY





    Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b)
because the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this Order.	

Filed: September 19, 2012

Do Not Publish


